Case 2:16-cv-00385-RWS Document 45 Filed 09/08/16 Page 1 of 2 PageID #: 238




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC                           Civil Action No. 2:16-CV-385-RWS
               Plaintiff,                           LEAD CASE
v.
                                                    JURY TRIAL DEMANDED
AT&T SERVICES, INC.

               Defendant.

        NOTICE OF COMPLIANCE REGARDING INITIAL AND ADDITIONAL
                            DISCLOSURES

       Defendant Sony Computer Entertainment America LLC hereby provides notice that on

September 7, 2016, it served its Initial and Additional Disclosures upon Plaintiff’s counsel of

record via electronic mail pursuant to the Court’s Docket Control Order [Dkt. 39].
Case 2:16-cv-00385-RWS Document 45 Filed 09/08/16 Page 2 of 2 PageID #: 239




Dated: September 8, 2016                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who

have consented to electronic service, on this the 8th day of September, 2016.

                                              /s/ Melissa R. Smith
                                             Melissa R. Smith




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